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                Exhibit 14
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From:                             Simpson LaGoy, Duncan C.
Sent:                             Monday, December 27, 2021 10:31 PM
To:                               Dylan Jacobs
Cc:                               zzExt-LCOOPER; zzExt-cstrangio; zzExt-echols; zzExt-travis; zzExt-mann; zzExt-breean;
                                  zzExt-Sarah; Beeney, Garrard R.; Ossip, Jonathan J.; Holland, Alexander S.; Oswell, Laura
                                  Kabler
Subject:                          RE: Brandt v. Rutledge - Legislator Subpoena Responses


Dylan,

When we spoke nearly a month ago, you agreed to run search terms to find documents responsive to the requests in
the subpoenas. We provided a list of search terms and asked you to tell us how many documents those terms returned
so we could narrow them, if necessary. Your assertion that you do not know where to use these search terms appears
to be made solely for the purpose of delay, since there is no reason it would take two and a half weeks for you to
determine that you were confused about how to run search terms. Moreover, your purported confusion is not credible
— as you know, you are required to search the locations in the possession, custody or control of your clients where
responsive material is likely to be located. Accordingly, if your clients have responsive text messages, emails, or social
media data, those all should be searched. Please provide detailed hit reports showing the number of hits for each
search term, run over any ESI location with responsive documents, by Monday, January 3.

Similarly, your refusal to withdraw your relevance objection is not well taken, and we have already provided authority
demonstrating that your objection is inappropriate. If you do not agree to withdraw this objection by Monday, January
3, we will be forced to file a motion.

Best,

Duncan

-----Original Message-----
From: Dylan Jacobs <dylan.jacobs@arkansasag.gov>
Sent: Thursday, December 23, 2021 6:25 PM
To: Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com>
Cc: zzExt-LCOOPER <LCOOPER@aclu.org>; zzExt-cstrangio <cstrangio@aclu.org>; zzExt-echols <echols@gill-law.com>;
zzExt-travis <travis@gill-law.com>; zzExt-mann <mann@gill-law.com>; zzExt-breean <breean@walaslawfirm.com>;
zzExt-Sarah <Sarah@acluarkansas.org>; Beeney, Garrard R. <Beeneyg@sullcrom.com>; Ossip, Jonathan J.
<ossipj@sullcrom.com>; Holland, Alexander S. <hollanda@sullcrom.com>; Oswell, Laura Kabler
<oswelll@sullcrom.com>
Subject: [EXTERNAL] RE: Brandt v. Rutledge - Legislator Subpoena Responses

Duncan - please see the attached letter.

Best,

Dylan L. Jacobs
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200

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                 Case 4:21-cv-00450-JM Document 84-14 Filed 01/20/22 Page 3 of 5
Little Rock, Arkansas 72201
Office: 501.682.3661 │ Fax: 501.682.2591 |dylan.jacobs@arkansasag.gov│ ArkansasAG.gov

-----Original Message-----
From: Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com>
Sent: Monday, December 6, 2021 6:25 PM
To: Dylan Jacobs <dylan.jacobs@arkansasag.gov>
Cc: zzExt-LCOOPER <LCOOPER@aclu.org>; zzExt-cstrangio <cstrangio@aclu.org>; zzExt-echols <echols@gill-law.com>;
zzExt-travis <travis@gill-law.com>; zzExt-mann <mann@gill-law.com>; zzExt-breean <breean@walaslawfirm.com>;
zzExt-Sarah <Sarah@acluarkansas.org>; Beeney, Garrard R. <Beeneyg@sullcrom.com>; Ossip, Jonathan J.
<ossipj@sullcrom.com>; Holland, Alexander S. <hollanda@sullcrom.com>; Oswell, Laura Kabler
<oswelll@sullcrom.com>
Subject: RE: Brandt v. Rutledge - Legislator Subpoena Responses

EXTERNAL EMAIL

Dylan,

Please see the attached letter.

Best,

Duncan

-----Original Message-----
From: Dylan Jacobs <dylan.jacobs@arkansasag.gov>
Sent: Friday, November 26, 2021 11:39 AM
To: Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com>
Cc: zzExt-LCOOPER <LCOOPER@aclu.org>; zzExt-cstrangio <cstrangio@aclu.org>; zzExt-echols <echols@gill-law.com>;
zzExt-travis <travis@gill-law.com>; zzExt-mann <mann@gill-law.com>; zzExt-breean <breean@walaslawfirm.com>;
zzExt-Sarah <Sarah@acluarkansas.org>; Beeney, Garrard R. <Beeneyg@sullcrom.com>; Ossip, Jonathan J.
<ossipj@sullcrom.com>; Holland, Alexander S. <hollanda@sullcrom.com>; Oswell, Laura Kabler
<oswelll@sullcrom.com>
Subject: [EXTERNAL] Re: Brandt v. Rutledge - Legislator Subpoena Responses

Duncan - 2:30 on Tuesday works for me. Thanks.

Dylan L. Jacobs
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200<x-apple-data-detectors://1/0> Little Rock, Arkansas 72201<x-apple-data-detectors://1/0>
Office: 501.682.3661<tel:501.682.3661> │ Fax: 501.682.2591<tel:501.682.2591>
|dylan.jacobs@arkansasag.gov<mailto:dylan.jacobs@arkansasag.gov>│
ArkansasAG.gov<https://urldefense.com/v3/__http://arkansasag.gov/__;!!ARePqKBowW4!iYrw6kw5fKXyu5sfQ12Z4U65
55W-4_BiI8MrXDCG8jVZwq57GPC0slDm_4ykTkY_$ >

On Nov 24, 2021, at 2:19 PM, Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com> wrote:

EXTERNAL EMAIL

Dylan,

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                  Case 4:21-cv-00450-JM Document 84-14 Filed 01/20/22 Page 4 of 5


We're available from 2:30-5 CST. Please let me know which time works for you and I can send Zoom invitation. Thanks,

Duncan



-----Original Message-----
From: Dylan Jacobs <dylan.jacobs@arkansasag.gov>
Sent: Tuesday, November 23, 2021 5:18 PM
To: Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com>
Cc: zzExt-LCOOPER <LCOOPER@aclu.org>; zzExt-cstrangio <cstrangio@aclu.org>; zzExt-echols <echols@gill-law.com>;
zzExt-travis <travis@gill-law.com>; zzExt-mann <mann@gill-law.com>; zzExt-breean <breean@walaslawfirm.com>;
zzExt-Sarah <Sarah@acluarkansas.org>; Beeney, Garrard R. <Beeneyg@sullcrom.com>; Ossip, Jonathan J.
<ossipj@sullcrom.com>; Holland, Alexander S. <hollanda@sullcrom.com>; Oswell, Laura Kabler
<oswelll@sullcrom.com>
Subject: [EXTERNAL] Re: Brandt v. Rutledge - Legislator Subpoena Responses

Duncan - our office will be closing the rest of this week, and I will be unavailable.

My schedule is fairly flexible starting next Tuesday. Please let me know some dates/times that work on your end.

Best,

Dylan L. Jacobs
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200<x-apple-data-detectors://1/0> Little Rock, Arkansas 72201<x-apple-data-detectors://1/0>
Office: 501.682.3661<tel:501.682.3661> │ Fax: 501.682.2591<tel:501.682.2591>
|dylan.jacobs@arkansasag.gov<mailto:dylan.jacobs@arkansasag.gov>│
ArkansasAG.gov<https://urldefense.com/v3/__http://arkansasag.gov/__;!!ARePqKBowW4!hYmjJ78B9nD7fL_crecMuRY
nq00LZ-qcTxYDKUr7WyftnTFeC2CBwmEwV0PWox2g$ >

On Nov 22, 2021, at 5:53 PM, Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com> wrote:



EXTERNAL EMAIL

Dylan,

We’d like to set up a meet and confer to discuss these objections. Please let me know when you have some time this
week or early next week.

Thanks,

Duncan

From: Dylan Jacobs <dylan.jacobs@arkansasag.gov>
Sent: Monday, November 22, 2021 2:51 PM


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                 Case 4:21-cv-00450-JM Document 84-14 Filed 01/20/22 Page 5 of 5
To: zzExt-LCOOPER <LCOOPER@aclu.org>; zzExt-cstrangio <cstrangio@aclu.org>; zzExt-echols <echols@gill-law.com>;
zzExt-travis <travis@gill-law.com>; zzExt-mann <mann@gill-law.com>; zzExt-breean <breean@walaslawfirm.com>;
zzExt-Sarah <Sarah@acluarkansas.org>; Beeney, Garrard R. <Beeneyg@sullcrom.com>; Ossip, Jonathan J.
<ossipj@sullcrom.com>; Holland, Alexander S. <hollanda@sullcrom.com>; 'oswell@sullcrom.com'
<oswell@sullcrom.com>; Simpson LaGoy, Duncan C. <SimpsonD@sullcrom.com>
Subject: [EXTERNAL] Brandt v. Rutledge - Legislator Subpoena Responses

Counsel,

Please see attached the responses to the subpoenas issued to the five Arkansas legislators on November 8, 2021 in the
above-captioned matter.

Best,

Dylan L. Jacobs
Assistant Solicitor General
Office of Arkansas Attorney General Leslie Rutledge

323 Center Street, Suite 200<x-apple-data-detectors://1/0> Little Rock, Arkansas 72201<x-apple-data-detectors://1/0>
Office: 501.682.3661<tel:501.682.3661> │ Fax: 501.682.2591<tel:501.682.2591>
|dylan.jacobs@arkansasag.gov<mailto:dylan.jacobs@arkansasag.gov>│ ArkansasAG.gov
[arkansasag.gov]<https://urldefense.com/v3/__http:/arkansasag.gov/__;!!ARePqKBowW4!limf-
DEg8N0ZAqqNiNdkFTjxrmbZWiw4bXHldnswjpt1UCFTuW4jv7WjAnsU_SXX$>

________________________________
**This is an external message from: dylan.jacobs@arkansasag.gov<mailto:dylan.jacobs@arkansasag.gov> **

________________________________
This e-mail is sent by a law firm and contains information that may be privileged and confidential. If you are not the
intended recipient, please delete the e-mail and notify us immediately.




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